        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



GILBERT P. HYATT,

                      Plaintiff,               Civil Action No. 05-2310 (RCL)
                                               Civil Action No. 09-1864 (RCL)
       v.                                      Civil Action No. 09-1869 (RCL)
                                               Civil Action No. 09-1872 (RCL)
ANDREW HIRSHFELD, Performing
the Functions and Duties of the Under
Secretary of Commerce for Intellectual
Property and Director of the United
States Patent and Trademark Office,

                      Defendant.



       PLAINTIFF’S RESPONSE TO DEFENDANT’S AMENDED PRETRIAL
                             STATEMENT

       In accordance with LCvR 16.5(e) and the parties’ proposed pretrial schedule, Plain-

tiff respectfully submits this response to the Defendant’s Pretrial Statement (August 13,

2021, ECF No. 286).

       1. Plaintiff’s Response to Defendant’s Statement of the Case

       As Mr. Hyatt explained in his Amended Pretrial Statement, he intends to put on evi-

dence showing that his actions prosecuting the four patent applications here, as well as his

conduct prosecuting his patent applications generally, were reasonable, explained, and sup-

ported by legitimate, affirmative reasons. Mr. Hyatt further intends to put on evidence that

the PTO was not, in fact, prejudiced by any of his prosecution actions because it was not

engaged in a good-faith examination of his applications, but was instead delaying examina-

tion and affirmatively preventing issuance of his patent applications. In the process, Mr.

Hyatt intends to show that any alleged delay is the responsibility of the PTO, not him, and
        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 2 of 7




that the PTO is not entitled to equitable relief for the additional reason that it has acted in-

equitably and with unclean hands. Finally, Mr. Hyatt intends to controvert much of the evi-

dence adduced by Defendant in its case-in-chief, as well as to challenge the credibility of De-

fendant’s witnesses and documentary evidence. All of these evidentiary bases are well with-

in the norm for the party presenting a defense case, as Mr. Hyatt will do with regard to

prosecution laches.

       In contrast, Defendant’s Amended Pretrial Statement presumes that the United

States Court of Appeals for the Federal Circuit acted as a fact-finder in its decision vacating

this Court’s prior judgment on partial findings. But “a defendant in a non-jury trial who…is

granted a directed verdict subsequently reversed on appeal, shall upon remand be afforded

an opportunity to present evidence as if the verdict had been denied by the district court.”

Int’l Union, United Auto., Aerospace & Agric. Implement Workers of Am., UAW v. Mack Trucks,

Inc., 917 F.2d 107, 110 (3d Cir. 1990). In this regard, Mr. Hyatt is entitled to present his en-

tire case, including by challenging evidence formerly found sufficient to get the plaintiff past

the directed-verdict stage. Id. at 110–11. PTO is therefore wrong to suggest that the Federal

Circuit found that it had proven prosecution laches or that Mr. Hyatt’s conduct constituted

an abuse of the patent system (or anything else). Instead, at best, the Federal Circuit found

that PTO presented evidence establishing various elements of prosecution laches sufficient

to require Mr. Hyatt to present his defense case.

       In accordance with the PTO’s erroneous view of the case, much of Defendant’s

Amended Pretrial Statement contends that Mr. Hyatt is limited in presenting evidence due

to its perception of how the Federal Circuit would view the weight of relevant evidence that

Mr. Hyatt has yet to introduce, such as percipient witness testimony (something of which



                                               2
         Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 3 of 7




the PTO presented precious little in its case-in-chief) concerning the PTO’s conduct. But this

Court should not be placed in the position of prejudging relevant evidence without it being

admitted. See Anderson v. Liberty Lobby, 477 U.S. 242, 255 (“Credibility determinations, the

weighing of the evidence, and the drawing of legitimate inferences from facts” are functions

of the finder-of-fact). Instead, Mr. Hyatt should be allowed relevant, non-cumulative evi-

dence in his defense case, with this Court as the trier-of-fact then determining what weight

to afford that evidence. See Blake v. Ross, 667 F. App'x 408, 409 (4th Cir. 2016) (quoting

United States v. Manbeck, 744 F.2d 360, 392 (4th Cir. 1984)) (“It is axiomatic that it is the role

of the factfinder, not the appellate court, to…weigh the evidence”); see also In re Pfizer Inc.

Sec. Litig., No. 04CIV.9866(LTS)(JLC), 2010 WL 1047618, at *2 (S.D.N.Y. Mar. 22, 2010),

as amended (Mar. 29, 2010) (citing In re Joint E. & S. Dist. Asbestos Litig., 52 F.3d 1124, 1133

(2d Cir.1995)) (courts cannot “prejudge the weight” of evidence, only the finder-of-fact may

determine weight).

       2. Objections and Counter-Designations to Defendant’s Deposition Designation

       Mr. Hyatt hereby offers the following objections to Defendant’s designations of his

deposition testimony. Unless otherwise stated, objections made on the record during the

deposition are not being asserted by Mr. Hyatt:

             PTO Designation                                     Objections

10:8–11:17, 144:2–9,                           Relevance as to the licensing of patents.

26:13–30:6, 37:22–39:3, 41:1–7, 41:18– Relevance as to Mr. Hyatt’s use of attorneys
42:21, 48:9–20, 49:5–50:14, 52:22–53:6, with respect to his patent applications.
148:18–146:14, 218:7–221:14

59:12–60:7                                     Attorney-client privilege and attorney work
                                               product protection.

104:17–105:8                                   Objection as noted on record.


                                                3
        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 4 of 7




130:10–14                                     Relevance as to Mr. Hyatt’s opinion regard-
                                              ing impact of statutory changes related to
                                              GATT

156:3–159:16, 160:18–162:12                   Calls for speculation and lacks foundation.
                                              Because seeks information about PTO pro-
                                              cesses.

160:18–162:12                                 Calls for speculation, improper hypothetical,
                                              and lacks foundation because it seeks infor-
                                              mation for effect of actions Mr. Hyatt could
                                              have taken.

222:9–226:11                                  Relevance as to Mr. Hyatt’s use of attorneys
                                              and a corporate entity with respect to his pa-
                                              tent applications.


       Plaintiff hereby offers the following counter-designations to Defendant’s designation

of Mr. Hyatt’s testimony:

       13:19–14:15, 14:9–16, 14:19–15:3, 16:3–6, 77:15–78:2, 104:17–105:8, 110:10–
       17, 110:20–111:18, 111:20–113:8, 117:7–9, 117:13 (start at “Do you recall”)–
       118:20, 119:17–20, 120:1–122:11, 126:10–127:5, 127:8–9, 127:20–128:9,
       136:12–16, 141:2–9, 146:15–147:2, 147:20–148:4, 150:12–152:6, 152:21–
       153:2, 153:5–12, 154:9–17, 162:13–163:5, 186:21–187:12, 233:6–234:8,
       234:10–11, 234:17–22, 236:1–7, 244:1–245:3.

The following designations are conditional designations being offered in the event Mr. Hy-

att’s objections regarding the relevance with respect to his use of attorneys are overruled:

       31:16–32:14, 32:16–33:3, 33:5–7, 39:4–12, 42:22–43:7, 44:6–12, 45:3–46:3,
       51:3–17, 51:20–22.

The following designations are conditional designations being offered in the event Mr. Hy-

att’s objections regarding the relevance with his respect to his licensing patent applications

are overruled: 142:15–143:1.




                                               4
        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 5 of 7




       3. Objections to Defendant’s Exhibits

       Plaintiff hereby offers the following objections to Defendant’s Exhibits:

         Exhibit                                        Objections

Exhibit 234                  Lacks foundation, FRE 1006, FRE 106

Exhibit 236                  Lacks foundation, hearsay, relevance, FRE 1006, FRE 106

Exhibit 237                  Lacks foundation, hearsay, and FRE 1006

Exhibit 238                  Relevance

Exhibit 1486                 Hearsay

Exhibit 1566                 Hearsay

Exhibit 1569                 Hearsay

Exhibit 1570                 Hearsay

Exhibit 1588                 Hearsay

Exhibit 1592                 Hearsay

Exhibit 1607                 Hearsay

Exhibit 1617                 Lacks foundation, hearsay, relevance

Exhibit 1618                 Lacks foundation, hearsay, relevance

Exhibit 1628                 Relevance, FRE 403

Exhibit 1629                 Relevance, FRE 403

Exhibit 1630                 Relevance, FRE 403

Exhibit 1631                 Relevance, FRE 403

Exhibit 1639                 Hearsay


       For the avoidance of doubt, Plaintiff objects to all expert reports prepared by Stephen

Kunin as hearsay. Plaintiff also reserves the right to make further objections to the use of

Defendant’s exhibits at trial, including (but not limited to) foundational issues with a wit-


                                              5
        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 6 of 7




ness, hearsay within hearsay objections, and other objections that could not be raised until

presentation of the exhibit during trial. Plaintiff reserves the right to object to demonstrative

exhibits until those demonstratives are provided by Defendant.



Dated: September 10, 2021                          Respectfully submitted,


                                                   /s/ Andrew M. Grossman
                                                   ANDREW M. GROSSMAN
                                                     (D.C. Bar No. 985166)
                                                   MARK W. DELAQUIL
                                                     (D.C. Bar. No. 493545)
                                                   PAUL M. LEVINE
                                                     (D.C. Bar No. 999320)
                                                   BAKER & HOSTETLER LLP
                                                   1050 Connecticut Avenue, N.W., Suite 1100
                                                   Washington, D.C. 20036
                                                   (202) 861-1657
                                                   agrossman@bakerlaw.com

                                                   Counsel for Mr. Hyatt




                                               6
        Case 1:09-cv-01869-RCL Document 250 Filed 09/10/21 Page 7 of 7




                                   Certificate of Service
      I hereby certify that, on September 10, 2021, I filed the foregoing with the Clerk of

the Court using the Court’s CM/ECF system. All counsel of record will be served through

the Court’s CM/ECF system.


Dated: September 10, 2021                     /s/ Andrew M. Grossman
                                              ANDREW M. GROSSMAN
